        Case 1:19-cv-02367-ABJ Document 75-1 Filed 07/07/22 Page 1 of 10




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                     )
 PETER P. STRZOK,                                    )
                                                     )
                Plaintiff,                           )
                                                     )       Civil Action No. 19-2367 (ABJ)
        v.                                           )
                                                     )
 ATTORNEY GENERAL MERRICK B.                         )
 GARLAND, in his official capacity, et al.,          )
                                                     )
                Defendants.                          )
                                                     )
                                                     )
                                                     )
 LISA PAGE,                                          )
                                                     )
                Plaintiff,                           )
                                                     )       Civil Action No. 19-3675 (TSC)
        v.                                           )
                                                     )
 U.S. DEPARTMENT OF JUSTICE, et al.,                 )
                                                     )
                Defendants.                          )
                                                     )



  DECLARATION OF CHRISTOPHER M. LYNCH IN SUPPORT OF DEFENDANTS’
       MOTION TO QUASH SUBPOENA AND FOR PROTECTIVE ORDER

       I, Christopher M. Lynch, make the following Declaration pursuant to 28 U.S.C. § 1746,

and state that under penalty of perjury the following is true and correct to the best of my

knowledge and belief:

       1.      I am a Trial Attorney with the Federal Programs Branch of the Civil Division of

the United States Department of Justice and counsel for Defendants in this matter.
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       2.      Attached as Exhibit A is a true and correct copy of the subpoena to testify at a

deposition in a civil action addressed to FBI Director Christopher Wray, sent to me by email by

Christopher MacColl, counsel for Mr. Strzok, on or about June 17, 2022.

       3.      Attached as Exhibit B is a true and correct copy of the Notice of Deposition of

Christopher A. Wray, sent to me by email by Christopher MacColl, counsel for Mr. Strzok, on or

about June 17, 2022.

       4.      Attached as Exhibit C is a true and correct copy of excerpts of the transcript of

Candice Will, taken on June 15, 2022.

       5.      Attached as Exhibit D is a true and correct copy of excerpts of a transcription of

the audio recording of Mr. Strzok’s July 24, 2018, hearing before Candice Will of the FBI’s

Office of Professional Responsibility.

       Executed this 7th day of July, 2022.


                                                                     /s/ Christopher M. Lynch
                                                                      Christopher M. Lynch




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                        Exhibit A
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                      )
PETER STRZOK,                                         )
                        Plaintiff,                    )
         v.                                           )
                                                      )
                                                             Civil Action No. 19-2367 (ABJ)
ATTORNEY GENERAL MERRICK GARLAND, )
in his official capacity as Attorney General, et al., )
                                                      )
                        Defendants.                   )
                                                      )
                                                      )
LISA PAGE,                                            )
                        Plaintiff,                    )
         v.                                           )
                                                      )      Civil Action No. 19-3675 (TSC)
U.S. DEPARTMENT OF JUSTICE, et al.,                   )
                                                      )
                        Defendants.                   )
                                                      )

          SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:    Christopher A. Wray
       935 Pennsylvania Avenue NW
       Washington, DC 20535

        YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify
at a deposition to be taken in these civil actions.

 Place: Zuckerman Spaeder LLP                     Date and Time: July 8, 2022
        1800 M St. NW STE 1000                                   9:30 am ET
        Washington, DC 20036


       The deposition will be recorded by stenographic, audio, and/or video methods. Relevant
provisions of Fed. R. Civ. P. 45 are attached.

Date: June 17, 2022                            Issued: /s/ Christopher R. MacColl
                                               Attorney for Peter Strzok




                                                                                        8276793.1
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       Contact information for Plaintiffs’ counsel is below. Please copy all Plaintiffs’ counsel on
correspondence related to the deposition.

Aitan D. Goelman (D.C. Bar 446636)                  Amy Jeffress (D.C. Bar No. 449258)
Christopher R. MacColl (D.C. Bar 1049153)           Robert J. Katerberg (D.C. Bar No. 466325)
ZUCKERMAN SPAEDER LLP                               Kaitlin Konkel (D.C. Bar No. 1021109)
1800 M Street NW, Suite 1000                        ARNOLD & PORTER
Washington, DC 20036                                 KAYE SCHOLER LLP
Telephone: (202) 778-1800                           601 Massachusetts Avenue NW
AGoelman@zuckerman.com                              Washington, DC 20001-3743
CMacColl@zuckerman.com                              Telephone: (202) 942-5000
                                                    Fax: (202) 942-5999
Richard A. Salzman (D.C. Bar 422497)                Amy.Jeffress@aporter.com
HELLER, HURON, CHERTKOF &                           Robert.Katerberg@arnoldporter.com
 SALZMAN PLLC                                       Kaitlin.Konkel@arnoldporter.com
1730 M Street NW, Suite 412
Washington, DC 20036                                Counsel for Plaintiff Lisa Page
Telephone: (202) 293-8090
salzman@hellerhuron.com

Counsel for Plaintiff Peter Strzok




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                                                                                            8276793.1
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AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                        Exhibit B
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                      )
PETER STRZOK,                                         )
                        Plaintiff,                    )
         v.                                           )
                                                      )
                                                               Civil Action No. 19-2367 (ABJ)
ATTORNEY GENERAL MERRICK GARLAND, )
in his official capacity as Attorney General, et al., )
                                                      )
                        Defendants.                   )
                                                      )
                                                      )
LISA PAGE,                                            )
                        Plaintiff,                    )
         v.                                           )
                                                      )        Civil Action No. 19-3675 (TSC)
U.S. DEPARTMENT OF JUSTICE, et al.,                   )
                                                      )
                        Defendants.                   )
                                                      )

                 NOTICE OF DEPOSITION OF CHRISTOPHER A. WRAY

       PLEASE TAKE NOTICE that, pursuant to Rules 30 and 45 of the Federal Rules of Civil

Procedure, Plaintiff Peter Strzok, by and through his undersigned counsel, will take the deposition

upon oral examination of CHRISTOPHER A. WRAY at the offices of Zuckerman Spaeder LLP,

1800 M St. NW STE 1000, Washington, DC 20036. The deposition will be taken beginning at

9:30 am ET on July 8, 2022 before an officer authorized to administer oaths and will continue

from day to day until completed. The deposition will be recorded by stenographic, audio, and

video methods.

       The deposition will be taken for purposes of discovery, for use at trial in these matters, and

for any other purpose permitted under the Federal Rules of Civil Procedure. All counsel of record

in the above captioned matters are invited to attend and participate.
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Date: June 17, 2022

Respectful Noticed,

/s/ Christopher R. MacColl
Aitan D. Goelman (D.C. Bar 446636)
Christopher R. MacColl (D.C. Bar
1049153)
ZUCKERMAN SPAEDER LLP
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Telephone: (202) 293-8090
salzman@hellerhuron.com

Counsel for Plaintiff Peter Strzok




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                                CERTIFICATE OF SERVICE

       I hereby certify that, on June 17, 2022, I served a copy of the foregoing via e-mail on

counsel of record for Defendants, as well as on counsel of record for Lisa Page in Civil Action No.

19-3675 (TSC).

                                                     /s/ Christopher R. MacColl
                                                     Christopher R. MacColl
